 Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.1 Filed 11/04/22 Page 1 of 62



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
MARTIN J. WALSH, Secretary                          )
of Labor, United States Department of Labor,        )
                                                    )
             Petitioner,                            )
                                                    )      Case Number:
      v.                                            )
                                                    )      Judge:
ROSIE GUTHRIE, an individual, and                   )
GENESIS HOMECARE SERVICES, LLC,                     )      Magistrate Judge:
                                                    )
             Respondents.                           )
                                                    )

           SECRETARY OF LABOR’S PETITION TO ENFORCE
             ADMINISTRATIVE SUBPOENA DUCES TECUM
      Petitioner MARTIN J. WALSH, Secretary of Labor, United States

Department of Labor (“Secretary”), through the undersigned counsel and pursuant

to Section 9 of the Fair Labor Standards Act of 1938, as Amended, 29 U.S.C. §

201, et seq., (“FLSA” or “Act”), applies to this Court for an Order requiring

ROSIE GUTHRIE and GENESIS HOMECARE SERVICES, LLC

(collectively, “Respondents”), to show cause, if any, why she failed to testify

completely as set forth in the subpoena duces tecum issued by the Regional

Administrator, Wage and Hour Division, United States Department of Labor, and

duly served upon Respondents.

                                          I

      Jurisdiction to issue the Order requested herein is conferred upon this Court

by Section 9 of the Act, 29 U.S.C. § 209, and by Sections 9 and 10 of the Federal

Trade Commission Act of 1914, as amended (15 U.S.C. §§ 49, 50) (“FTC Act”).
 Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.2 Filed 11/04/22 Page 2 of 62




                                         II

      Section 11 of the FLSA authorizes the Secretary to investigate and gather

data regarding “conditions and practices of employment in any industry subject to

this Act . . . as necessary or appropriate to determine whether any person has

violated any provision of this Act, or which may aid in the enforcement of the

provisions of this Act.” 29 U.S.C. § 211. Section 9 of the FLSA further provides

that sections 9 and 10 of the FTC Act (15 U.S.C. §§ 49, 50), relating to the

attendance of witnesses and the production of books, papers, and documents, are

applicable to the Secretary for purposes of investigations under the FLSA. 29

U.S.C. § 209. Section 9 of the FTC Act provides authorized agents shall have

access to documentary evidence of “any person, partnership, or corporation being

investigated or proceeded against; and the Commission shall have power to

require by subpoena the attendance and testimony of witnesses and the production

of all such documentary evidence relating to any matter under investigation.” 15

U.S.C. § 49.

                                        III

      Michael Lazzeri is the Regional Administrator of the Midwest Regional

Office of the Wage and Hour Division, United States Department of Labor

(“Regional Administrator Lazzeri”), who, among others, was delegated the

authority by the Secretary to issue administrative subpoenas under the Act.



                                         2
 Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.3 Filed 11/04/22 Page 3 of 62




Secretary’s Order 01-2014, § 5.C., 79 Fed. Reg. 77527, 77528 (Dec. 19, 2014).

                                         IV

       A.    Rosie Guthrie (“Guthrie”) is the sole owner of Genesis Homecare

Services, LLC (“Genesis”), who currently resides in Clinton Township, Michigan,

which is in Macomb County and within the jurisdiction of this Court.

       B.    Genesis, at all times referred to herein, is and was a Michigan limited

liability company with an office and a place of business at 23780 Harper Ave.,

Suite #B, St. Clair Shores, MI 48080, which is in Macomb County and within the

jurisdiction of this Court.

                                         V

      In order to conduct a thorough investigation into the wages, hours, and other

conditions and practices of employment, pursuant to section 11 of the FLSA,

Wage and Hour investigators regularly review, copy and/or transcribe information

from employers’ records including, but not limited to, payroll records and records

of hours worked; question and interview employers and employees; and collect

and review other relevant data relating to compliance by employers under the Act.

                                         VI

      Pursuant to the power vested in him as Regional Administrator of the Wage

and Hour Division, United States Department of Labor, Regional Administrator

Lazzeri signed and issued a subpoena duces tecum with a deadline of July 1, 2022,



                                         3
 Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.4 Filed 11/04/22 Page 4 of 62




at 10:00 am, requiring Respondents to provide documents listed on the

Attachment to the subpoena duces tecum concerning matters within the scope of

an investigation being conducted pursuant to the FLSA, 29 U.S.C. § 211. Exhibit

A at 1.

                                         VII

      On June 15, 2022, Investigator Daniel Murphy of the United States

Department Wage and Hour Division served the Subpoena on Guthrie by hand-

delivering it to her. Guthrie made no response. Exhibit A at 5.

                                        VIII

      The Respondents have failed to respond to all information sought in

Subpoena, and this failure has impeded and continues to impede the Secretary’s

lawful investigation under the provisions of section 11 of the FLSA.

                             PRAYER FOR RELIEF
      WHEREFORE, the Secretary respectfully requests this Court issue an
Order:
      A.     Requiring Respondents to inform the Secretary and the Court that they
will fully comply with the Secretary’s subpoena duces tecum within 10 days of the
date of the Order or show cause, if any, for their failure to comply with and obey
the Secretary’s subpoena duces tecum;
      B.     Tolling the statute of limitations from July 1, 2022, the date
Respondents failed to comply with the Secretary’s subpoenas duces tecum, until




                                          4
 Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.5 Filed 11/04/22 Page 5 of 62




such date as the Secretary informs the Court that Respondents have complied in
full;
        C.     Requiring Respondents to provide the subpoenaed documents no more
than 15 days after the issuance of the Order;
        D.     Directing Respondents to pay all costs, expenses, and fees incurred by
the Secretary in this matter, including:
               1.       The market rate for the time the Secretary spent preparing this
        Petition; and
               2.       Travel costs of the Secretary in enforcing this Petition.
        E.     And for such other just and further relief as may be necessary and
appropriate.




                                              5
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.6 Filed 11/04/22 Page 6 of 62




                                        SEEMA NANDA
                                        Solicitor of Labor

                                        CHRISTINE Z. HERI
                                        Regional Solicitor

                                        /s/Jonathan Hoffmeister
                                        JONATHAN HOFFMEISTER
                                        Senior Trial Attorney

                                        Attorney for Petitioner, Martin J.
                                        Walsh, Secretary of Labor
                                        U.S. Department of Labor
                                        Office of the Solicitor
                                        230 South Dearborn Street, Suite 844
                                        Chicago, IL 60604
                                        Telephone: (404) 302-5453
                                        Fax: (312) 353-5698
                                        E-mail:hoffmeister.jonathan@dol.gov


                                        LOCAL COUNSEL:

                                        DAWN N. ISON
                                        United States Attorney

                                        KEVIN ERSKINE
                                        Assistant United States Attorney
                                        211 W. Fort Street, Ste. 2001
                                        Detroit, Michigan 48226
                                        (313) 226-9610
                                        Email: kevin.erskine@usdoj.gov
                                        (P69120)




                                    6
 Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.7 Filed 11/04/22 Page 7 of 62



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
MARTIN J. WALSH, Secretary                           )
of Labor, United States Department of Labor,         )
                                                     )
             Petitioner,                             )
                                                     )     Case Number:
      v.                                             )
                                                     )     Judge:
ROSIE GUTHRIE, an individual, and                    )
GENESIS HOMECARE SERVICES, LLC,                      )     Magistrate Judge:
                                                     )
             Respondents.                            )
                                                     )
     MEMORANDUM IN SUPPORT OF SECRETARY OF LABOR’S
    PETITION TO ENFORCE ADMINISTRATIVE SUBPOENA DUCES
                          TECUM

      Petitioner Martin J. Walsh, Secretary of Labor, United States Department of

Labor (“Secretary” or “Department”), by counsel, submits this Memorandum in

Support of his Petition to Enforce Administrative subpoena duces tecum duly

served on ROSIE GUTHRIE and GENESIS HOMECARE SERVICES, LLC

(collectively, “Respondents”). Copies of the subpoena and proof of service are

attached as Exhibit (“Ex.”) A.

      This case presents the question of whether a company being investigated by

the U.S. Department of Labor’s Wage and Hour Division (“Wage and Hour

Division”) for compliance with the Fair Labor Standards Act of 1934, as

Amended, 29 U.S.C. § 201 et seq. (“FLSA” or “Act”), has the authority to limit the

investigation as it sees fit. The FLSA and binding court precedent require this

Court to find the Secretary has the statutory authority to direct his own


                                          1
    Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.8 Filed 11/04/22 Page 8 of 62




investigation.

        In brief, Respondent Guthrie is the sole owner of Respondent Genesis

Homecare Services, LLC (“Genesis”), a Michigan limited liability company that

provides in-home care services to seniors and other patients in need of assistance.

The Wage and Hour Division opened an investigation of Genesis to determine the

company’s compliance with the FLSA, and asked Guthrie to share documents—

such as worker contact information, payroll records, and timesheets—that were

necessary to the investigation. After significant back-and-forth, Guthrie turned

over only a small portion of the requested information (a blank timesheet, five

“sample” timesheets/ paystubs with redacted names, a blank application for

employment, and a W-9 Request for Taxpayer ID form). Ex. B. When the Wage

and Hour Division asked for the remaining documents it had requested, Guthrie

replied that the information she provided was “enough.” Ex. C at1. The Wage and

Hour Division then issued a subpoena duces tecum to Guthrie for the remaining

documents.1 Guthrie ignored the subpoena. Declaration of Wage and Hour

Investigator Stephanie Dolan (“Dolan Decl.”), ¶¶ 17, 20-21.

        The Department’s subpoena satisfies the applicable criteria established by

the Supreme Court and applied by the Sixth Circuit for a valid and enforceable



1
  Although the subpoena was technically issued to Ms. Guthrie, it seeks documents
from Genesis. See Ex. A at 1-4.
                                          2
 Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.9 Filed 11/04/22 Page 9 of 62




administrative subpoena. First, the subpoena is authorized by sections 9 and 11(a)

of the FLSA. Second, the testimony sought by the subpoena is relevant to the

Department’s investigation. Third, the Department does not already possess the

information sought by the subpoena. Lastly, enforcing the subpoena would not be

an abuse of this Court’s process. Accordingly, the Secretary seeks enforcement of

the subpoena through an order from this Court requiring full compliance with the

Secretary’s subpoena, including but not limited to ordering Respondents to

produce the requested documents no later than 15 days after the issuance of the

Order and requiring Respondents to pay for costs, fees, and expenses associated

with litigation that should not be necessary.

A. Background Facts Relevant to Secretary’s Petition

      On March 31, 2022, the Wage and Hour Division initiated an investigation

into the wage and hour practices of Genesis. Dolan Decl., ¶ 2. On the same day,

Investigator Dolan called and sent a letter to Guthrie requesting documents by

April 8, 2022, including a list of Genesis’ current and former workers, timekeeping

records, payroll records, and documents for independent contractors. Dolan Decl.,

¶ 4, Ex. D. Guthrie returned Dolan’s call later that day, indicating she thought

Wage and Hour’s investigation might be a “scam” and stating she would have an

attorney call Dolan back. Dolan Decl., ¶ 8. A representative for Guthrie did not

call Dolan back, and the Wage and Hour Division received no documents. Onn


                                          3
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.10 Filed 11/04/22 Page 10 of 62




April 11, 2022, Dolan sent Guthrie an email requesting again the needed

information and providing a two-day extension for Guthrie to produce the

documents, until April 13, 2022. Dolan Decl., ¶ 9; Ex. C at 2-3. Dolan called and

sent another email on April 13, 2022, noting the deadline to respond was that day.

Dolan Decl., ¶ 10; Ex. C at 2. Receiving no response from either Guthrie or her

representative, on April 27, 2022, Dolan personally delivered a “72-hour” letter to

Guthrie, again explaining the documents Wage and Hour needed and giving

Guthrie until May 2, 2022, to respond. Dolan Decl., ¶11; Ex. E. Guthrie finally

spoke with Dolan on May 3, 2022, and the two agreed to meet at the Genesis

business establishment on May 5, 2022. Dolan Decl., ¶ 12.

      When Dolan went on-site at Genesis, Guthrie provided her with five sample

timesheets with attached paystubs. Dolan Decl., ¶ 13; Ex. B, at 1-11. Although the

workers’ names were scratched out, the timesheets appeared to represent five

different workers because they show different work schedules over the same time-

period. Dolan Decl., ¶ 13. According to the sample, Genesis pays its workers a

straight hourly wage of $12.00, even in situations where workers work more than

40 hours in a week. Ex. B, at 4, 8. When Dolan asked Guthrie where the

remaining time records were, Guthrie showed her a box of records in a closet but

refused to let Dolan examine or copy the records. Dolan Decl., ¶ 14. Guthrie




                                         4
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.11 Filed 11/04/22 Page 11 of 62




indicated she would provide the remaining records by May 9, 2022, once she could

get consent from her clients and workers. Dolan Decl., ¶ 14.

      By May 10, 2022, Guthrie had provided no new documents to the Wage and

Hour Division. Dolan emailed Guthrie about the issue and Guthrie wrote back,

stating: “I have been advised that the information I gave you is enough. The

caregivers did not agree for me to give out their information. I will not be

corresponding with you anymore. If you want to take it to court, I will see you

there[.]” Dolan Decl., ¶ 15; Ex. C at 1. May 10, 2022, was the last time Guthrie

corresponded with Wage and Hour. When the Wage and Hour Division served

Guthrie with a subpoena on June 15, 2022, Guthrie ignored it. Dolan Decl., ¶¶ 17,

20-21.


B. The Secretary Is Authorized by Statute to Issue Subpoenas in Order to
Investigate Compliance with the FLSA and May Enforce Such Subpoenas in
Federal Court.

      In support of the Secretary’s enforcement duties, the FLSA grants the

Secretary subpoena power, providing:

             For the purpose of any hearing or investigation provided
             for in this chapter, the provisions of section 49 and 50 of
             title 15 (relating to the attendance of witnesses and the
             production of books, papers and documents), are made
             applicable to the jurisdiction, powers, and duties of the
             Administrator, the Secretary of Labor, and the industry
             committees.



                                          5
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.12 Filed 11/04/22 Page 12 of 62




29 U.S.C. § 209.2 Subpoenas issued under the FLSA are enforceable in federal

court. See 15 U.S.C. § 49 (providing that if the subject of an agency subpoena

disobeys that subpoena, the agency “may invoke the aid of any court of the United

States in requiring the attendance and testimony of witnesses and the production of

documentary evidence”); see also Donovan v. Mehlenbacher, 652 F.2d 228, 230

(2d Cir. 1981) (“[T]he Department of Labor clearly has the power to issue

subpoenas in the course of an investigation conducted under statutory authority,

and to have those subpoenas enforced by federal courts.” (citing Okla. Press

Publ’g Co. v. Walling, 327 U.S. 186, 200-01 (1946))).

        The Sixth Circuit has noted, “[A] district court’s role in the enforcement of

an administrative subpoena is a limited one.” United States v. Markwood, 48 F.3d

969, 976 (6th Cir. 1995). Therefore, “the scope of the issues which may be

litigated in an enforcement proceeding must be narrow, because of the important

governmental interest in the expeditious investigation of possible unlawful

activity.” (Id. at 979) (quoting FTC v. Texaco, Inc., 555 F.2d 862, 872-73 (D.C.



2
    The Federal Trade Commission Act, 15 U.S.C. § 49, provides in pertinent part:

        [T]he Commission shall have power to require by subpoena the attendance
        and testimony of witnesses and the production of all such documentary
        evidence relating to any matter under investigation. . . . [I]n case of
        disobedience to a subpoena the Commission may invoke the aid of any court
        of the United States in requiring the attendance and testimony of witnesses
        and the production of documentary evidence.
                                           6
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.13 Filed 11/04/22 Page 13 of 62




Cir. 1977)). The Secretary’s subpoenas are properly enforced if (1) the subpoenas

satisfy the terms of its authorizing statute; (2) the requested materials are relevant

to the investigation; (3) the information sought is not already in the Secretary’s

possession; and (4) enforcing the subpoenas will not constitute an abuse of the

court’s process. Doe v. United States, 253 F.3d 256, 265 (6th Cir. 2001); Solis v.

PulteGroup, Inc., No. 12-50286, 2013 WL 4482978, at *3 (E.D. Mich. Aug. 19,

2013). “The Secretary bears the burden of satisfying the first three prongs of the

test, while the respondent carries the burden of demonstrating that enforcement of

the subpoena will constitute an abuse of process.” PulteGroup, 2013 WL

4482978, at *3 (finding that to demonstrate an abuse of process, respondent bears

the burden of proving the subpoena was issued for an improper purpose).

“Affidavits of government officials have been accepted as sufficient to make out a

prima facie showing that these requirements are satisfied.” United States v.

Comley, 890 F.2d 539, 541 (1st Cir. 1989). The Secretary’s subpoena satisfies all

of the requirements for enforcement, and Respondents cannot meet their burden to

show that enforcement would be improper.

C. The Subpoena Satisfies the Terms of the Authorizing Statute

      The subpoena has been issued in furtherance of the Secretary’s investigation

into Genesis’ compliance with the FLSA. The Act grants the Secretary broad

investigatory powers to determine compliance with its provisions. Section 11(a)


                                           7
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.14 Filed 11/04/22 Page 14 of 62




gives the Secretary or his designee, the Wage and Hour Division, authority to

investigate and gather data regarding “wages, hours, and other conditions and

practices of employment in any industry subject to this Act.” 29 U.S.C. § 211(a).

It also empowers the Secretary to enter and inspect such places and records as he

may deem appropriate to determine whether any person has violated the Act. Id.

Section 11(c) of the Act further requires employers to make, keep and preserve

certain records as prescribed by the Secretary. Id. § 211(c).

      Here, the Secretary plainly acts pursuant to the investigative authority

described above. The purpose of the subpoena and the investigation into Genesis

is to determine whether Genesis, along with any person or entity acting as an

“employer” with Genesis, is in compliance with the minimum wage, overtime, and

recordkeeping provisions of the FLSA. A showing of probable cause, or even

reasonable cause, of violations is not necessary for documents to be within an

agency’s subpoena power. See United States v. Morton Salt Co., 338 U.S. 632,

642-43 (1950). “‘[T]he Secretary may investigate on mere suspicion that the law is

being violated or even just because she wants assurance that it is not,’ and she has

‘no obligation to justify the merit of her investigation as a prerequisite to

enforcement of administrative subpoenas.’” PulteGroup, 2013 WL 4482978 at *3

(citation omitted).

      In sum, the Wage and Hour Division is statutorily empowered to determine


                                           8
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.15 Filed 11/04/22 Page 15 of 62




whether Genesis is and has been in compliance with the FLSA, and requesting pay

and time record documents, as well as witness contact and company information, is

a suitable manner in which to make that determination.

D. The Information the Secretary Seeks is Relevant to the Secretary’s
Investigation

      Relevance in enforcement proceedings must be construed broadly. Doe, 253

F.3d at 266. Records are reasonably relevant if the information is relevant to any

inquiry that the Secretary is authorized to undertake. See Dole v. Trinity

Industries, Inc., 904 F.2d 867, 874 (3d Cir. 1990). “The district court defers to ‘the

agency’s appraisal of relevancy, which must be accepted so long as it is not

obviously wrong.’” NLRB v. Champagne Drywall, Inc., 502 F. Supp. 2d 179, 182

(D. Mass. 2007) (quoting NLRB v. Amer. Med. Response, Inc., 438 F.3d 188, 193

(2d Cir. 2006). See also Resolution Trust Corp. v. Walde, 18 F.3d 943, 946 (D.C.

Cir. 1994) (finding that a court should defer to an agency’s relevance

determination so long as it is not obviously wrong).

      Here, the subpoena seeks documents relevant to the Secretary’s investigation

of Genesis’ compliance with the FLSA’s minimum wage, overtime, and record-

keeping provisions. Genesis apparently believes its workers are independent

contractors, not “employees” under the FLSA. However, it is essential that the

Secretary be allowed to verify Genesis’ belief about the workers’ employment

status, as that issue goes to the heart of whether Secretary has the jurisdiction to

                                           9
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.16 Filed 11/04/22 Page 16 of 62




enforce the relevant sections of the Act. Contact information for the workers who

can speak to their working relationship with Genesis is therefore essential for the

Wage and Hour Division’s investigation. If Genesis’ workers are “employees”

under the FLSA, the Secretary also needs to know the hours worked and pay

provided to determine if there are minimum wage, overtime or recordkeeping

violations. Further, the Wage and Hour Division must determine all of the

“employers” in relation to the “employees.” See 29 U.S.C. 203(d) (“‘Employer’

includes any person acting directly or indirectly in the interest of an employer in

relation to an employee . . . .”). Therefore, Wage and Hour needs information

requested by the subpoena about Genesis’ corporate structure.

      While this explanation of determinations to be made during the Secretary’s

investigation is not meant to be exhaustive, these illustrative determinations

indicate the information the Secretary seeks and that is being hidden by

Respondents is directly relevant to the Secretary’s investigation.

E. The Information Sought Is Not Within the Agency’s Possession

       The Secretary seeks only information that has not yet obtained from

Respondents, who have only provided 18 pages of documents. See Ex. B. The

Secretary does not have the information regarding, inter alia, worker contact

information, worker timesheets, or worker pay records. Respondents are the best

source of this information.


                                          10
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.17 Filed 11/04/22 Page 17 of 62




F. The Secretary’s Demand Is Not Improper

      As explained above, once the Secretary demonstrates the requirements for

enforcement of the administrative subpoena has been met, the burden shifts to the

Respondents to show the information requested is unreasonable, improper, or

unnecessarily burdensome. In general, the Sixth Circuit has noted it is a “heavy”

burden to demonstrate an abuse of process. Doe, 253 F.3d at 272. An assertion of

abuse of process “may not be based on the improper motives of an individual

agency employee, but instead must be founded upon evidence that the agency

itself, in an institutional sense, acted in bad faith when it served the subpoena.” Id.

Examples of impropriety are limited to situations such as harassing a taxpayer or

putting pressure on them to settle a collateral dispute, “or for any other purpose

reflecting on the good faith of the particular investigation.” United States v.

Powell, 379 U.S. 48, 58 (1974). Absent such circumstances, “it is not the court’s

role to intrude into the investigative agency’s function.” SEC v. Howatt, 525 F.2d

226, 229 (1st Cir. 1975).

      The subpoena properly requests records directly related to the Wage and

Hour Division’s investigation into the employment practices of Genesis.

Accordingly, Respondents cannot point to unreasonableness, impropriety, or

unnecessary burden as reasons that the Court should not enforce the subpoena.

G. The Order to Enforce Is Necessary to Prevent a Lapse in the Statute of
Limitations

                                          11
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.18 Filed 11/04/22 Page 18 of 62




      The FLSA has a two-year statute of limitations, which is extended to three

years in the case of willful violations. 29 U.S.C. § 255. Violations accrue on a

workweek basis. An order to enforce the subpoena is necessary to prevent a lapse

of the statute of limitations. The ongoing failure of Respondents to provide

subpoenaed documents could render a portion of the investigative period barred by

the statute of limitations. The unwillingness of Respondents to produce the

requested information is actively interfering with the Secretary’s investigation.

Dolan Decl., ¶ 23.

      Without an order from this Court compelling compliance with the subpoena,

Respondents will be able to continue to interfere with the Secretary’s investigation.

See Wall v. Constr. & Gen. Laborers’ Union, Local 230, 224 F.3d 168, 176 (2d

Cir. 2000) (“A defendant may be equitably estopped from asserting the statute of

limitations ‘in cases where the plaintiff knew of the existence of his cause of action

but the defendant’s conduct caused [the plaintiff] to delay in bringing his lawsuit.’”

(quoting Cerbone v. Int’l Ladies’ Garment Workers’ Union, 768 F.2d 45, 50 (2d

Cir. 1985)). Therefore, to mitigate the effect of Respondents’ actions on the

investigation, the Secretary respectfully requests the Court’s order requiring

compliance with the subpoena also tolls the applicable statute of limitations from

July 1, 2022, the original production due date for the subpoena, until such time as

Respondents have fully complied with it. See EEOC v. O’Grady, 857 F.2d 383,

                                          12
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.19 Filed 11/04/22 Page 19 of 62




393 (7th Cir. 1988) (affirming that tolling was appropriate when “defendants had

actively concealed information necessary to a viable court action”); Domenech-

Rodriguez v. Banco Popular De Puerto Rico, 151 F. Supp. 3d 228, 233 (D.P.R.

2015) (noting in Title VII case that tolling may be warranted when defendant’s

affirmative misconduct lulls a plaintiff into inaction).

H. Conclusion

      The subpoena duces tecum issued to Respondents by the Wage and Hour

Division is procedurally sound and seeks relevant material not already in the

Secretary’s possession. Further, compliance will not be unreasonable, improper, or

unnecessarily burdensome. The Secretary respectfully requests that the Court

grant the Secretary’s petition for an order compelling Respondents to fully comply

with the subpoena, including but not limited to ordering them to inform the

Secretary and the Court that they will fully comply with the Secretary’s Subpoena

Duces Tecum within 10 days of the date of the Order; requiring Respondents to

provide the subpoenaed documents within 15 days of the date of the Order; and

tolling the statute of limitations from July 1, 2022, the date Respondents failed to

comply with the subpoena, until such date as the Secretary informs the Court that

Respondents has complied in full. The Secretary further requests this Court issue

an order directing Respondents to pay all costs, expenses, and fees incurred by the

Secretary in this matter, including but not limited to the market rate for the time the


                                          13
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.20 Filed 11/04/22 Page 20 of 62




undersigned spent preparing the Petition and the travel costs incurred by the

Secretary enforcing the Petition.

                                              Respectfully submitted,

                                              SEEMA NANDA
                                              Solicitor of Labor

                                              CHRISTINE Z. HERI
                                              Regional Solicitor

                                              /s/Jonathan Hoffmeister
                                              JONATHAN HOFFMEISTER
                                              Senior Trial Attorney

                                              Attorney for Petitioner, Martin J.
                                              Walsh, Secretary of Labor
                                              U.S. Department of Labor
                                              Office of the Solicitor
                                              230 South Dearborn Street, Suite 844
                                              Chicago, IL 60604
                                              Telephone: (404) 302-5453
                                              Fax: (312) 353-5698
                                              E-mail:hoffmeister.jonathan@dol.gov

                                              LOCAL COUNSEL:

                                              DAWN N. ISON
                                              United States Attorney

                                              KEVIN ERSKINE
                                              Assistant United States Attorney
                                              211 W. Fort Street, Ste. 2001
                                              Detroit, Michigan 48226
                                              (313) 226-9610
                                              Email: kevin.erskine@usdoj.gov
                                              (P69120)



                                         14
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.21 Filed 11/04/22 Page 21 of 62



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
MARTIN J. WALSH, Secretary                          )
of Labor, United States Department of Labor,        )
                                                    )
               Petitioner,                          )
                                                    )     Case Number:
      v.                                            )
                                                    )     Judge:
ROSIE GUTHRIE, an individual, and                   )
GENESIS HOMECARE SERVICES, LLC,                     )     Magistrate Judge:
                                                    )
               Respondents.                         )
                                                    )

        DECLARATION OF INVESTIGATOR STEPHANIE DOLAN
      I, Stephanie Dolan, pursuant to 28 U.S.C. § 1746, declare under penalty of

perjury under the laws of the United States of America that the following is true

and correct:

      1. I am an employee of the Wage and Hour Division, United States

Department of Labor (“Wage and Hour”), where I work as an Investigator

(“WHI”) for the Detroit District Office (“District Office”). I am over 18 years of

age and have personal knowledge of the facts and circumstances stated herein.

      2. On March 31, 2022, Wage and Hour initiated an investigation of Genesis

Homecare Services, LLC (“Genesis”) with me as the assigned WHI.

      3. The investigation by the District Office is to determine whether

Respondent is covered by the Fair Labor Standards Act of 1938, as amended, 29

U.S.C. §§ 201, et seq. (hereinafter “the Act” or “FLSA”) and whether Respondent

is complying with the provisions of the Act.
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.22 Filed 11/04/22 Page 22 of 62




      4. On March 31, 2022, I emailed a letter to Genesis’ sole owner, Rosie

Guthrie (“Guthrie”). The letter requested Ms. Guthrie to provide me with

information and documents regarding the identity of current and former workers,

timekeeping records, payroll records, and documents for independent contractors.

I need documents like these in order to determine if Genesis is complying with

provisions of the FLSA. I requested that Ms. Guthrie provide these documents by

April 8, 2022. A true and accurate copy of the March 31, 2022, letter is attached as

Exhibit D.

       5. Genesis’ principal place of business is located at 23780 Harper Ave.,

Suite #B, St. Clair Shores, MI 48080 (hereinafter “the Genesis worksite”). It

conducts business as a limited liability company in Michigan.

      6. Genesis provides in-home care services to seniors and other patients in

need of assistance.

      7. Upon information and belief, Ms. Guthrie resides at 41630 Berly Dr.,

Clinton Township, Michigan 48038, which is in Macomb County.

      8. I also spoke with Ms. Guthrie twice on March 31, 2022. The first time I

called her before I emailed her the March 31, 2022 letter. During the first call, I

discussed Wage and Hour and the FLSA with Ms. Guthrie. Later that evening,

after I emailed the March 31, 2022 letter, Ms. Guthrie called me and stated that she




                                          2
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.23 Filed 11/04/22 Page 23 of 62




thought Wage and Hour’s investigation might be a “scam.” She said she would

have an attorney call me back.

      9. No one called me back about the requested documents, so on April 11,

2022, I sent Ms. Guthrie another email again asking for the documents and

providing a two-day extension for Ms. Guthrie to provide them--until April 13,

2022. I received no reply. A true and accurate copy of my email correspondence

with Ms. Guthrie, including the April 11, 2022, is attached as Exhibit C at 2-3.

      10. I sent another email on April 13, 2022, noting the deadline to respond

was that day. I received no reply. A true and accurate copy of the April 13, 2022,

email is attached as part of Exhibit C at 2.

      11. On April 27, 2022, I personally delivered to Genesis’ place of business a

72-hour letter, informing Ms. Guthrie that she had until May 2, 2022, to provide

the requested information. A true and accurate copy of the 72-hour letter is

attached as Exhibit D.

      12. On May 3, 2022, I spoke with Ms. Guthrie and she told me she received

the 72-hour letter. We agreed to meet at the Genesis worksite on May 5, 2022.

      13. I visited the Genesis worksite on May 5, 2022. While there, Ms.

Guthrie provided me documents, including five sample timesheets with attached

paystubs. The timesheets had workers’ names scratched out. I noticed the

timesheets appeared to represent five different workers because they showed



                                           3
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.24 Filed 11/04/22 Page 24 of 62




different work schedules over the same time period. I also noticed the workers

were paid a straight hourly wage of $12.00, even when the worker worked more

than 40 hours in a week. A true and accurate copy of documents provided by Ms.

Guthrie is attached as Exhibit B.

      14. While at Genesis, I asked Ms. Guthrie where the remaining time records

were. Ms. Guthrie showed me a box of records in a closet. I asked if I could take

the records to my office to examine them, or if I could copy them. Ms. Guthrie

refused. Ms. Guthrie said she was waiting to get consent from her clients and

workers before she provided me the records. She offered to provide them by May

9, 2022.

      15. By May 10, 2022, Ms. Guthrie had provided no new documents to

Wage and Hour. I emailed Ms. Guthrie again asking about the documents. Ms.

Guthrie replied that she would not provide the documents and was done

corresponding with me. A true and accurate copy of the May 10, 2022,

correspondence is attached as part of Exhibit C.

      16. As a result of Ms. Guthrie’s repeated failure to provide the requested

records, including witness information, coverage, wages, hours and other terms

and conditions of employment.

      17. Michael Lazzeri, Regional Administrator for Wage and Hour’s Region

V, issued an administrative subpoena duces tecum to Ms. Guthrie on June 15, 2022



                                         4
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.25 Filed 11/04/22 Page 25 of 62




(hereinafter “the Subpoena”). A true and accurate copy of the Subpoena is attached

as Exhibit A to this Declaration.

      18. Pursuant to the terms of the Subpoena, Ms. Guthrie was required by

10:00 a.m. on July 1, 2022, to produce all documents listed and described in

Attachment to Subpoena, as set forth in Exhibit A, at 3-4.

      19. On June 15, 2022, WHI Daniel Murphy hand delivered the Subpoena to

Ms. Guthrie. A true and accurate copy of the Return of Service is attached to this

Declaration as part of Exhibit A. The documents requested in the Subpoena are

routinely requested by Wage and Hour in investigations in order to evaluate an

employer’s coverage under and compliance with the Act.

      20. To date, Ms. Guthrie has failed to produce any of the documents I

requested (beyond those that were provided in Exhibit B), and Ms. Guthrie has not

contacted Wage and Hour in any way since May 10, 2022.

      21. To date, Ms. Guthrie has failed to provide documents needed by Wage

and Hour to conduct its investigation and as requested in the Subpoena.

      22. Wage and Hour needs the information referenced by the Attachment to

Subpoena in order to determine whether the Genesis has committed any violations

of the FLSA. Ms. Guthrie’s refusal to provide the information is actively

interfering with the Wage and Hour’s investigation.




                                         5
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.26 Filed 11/04/22 Page 26 of 62




I declare under penalty of perjury that the foregoing is true and correct.



This 4th day of November, 2022.



_____________________
Stephanie Dolan
Investigator
Wage and Hour Division, U.S. Department of Labor




                                          6
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.27 Filed 11/04/22 Page 27 of 62




                                                                  &YIJCJU"

                                                                  Exhibit A, p.001
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.28 Filed 11/04/22 Page 28 of 62




                                                                  Exhibit A, p.002
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.29 Filed 11/04/22 Page 29 of 62




                                                                  Exhibit A, p.003
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.30 Filed 11/04/22 Page 30 of 62




                                                                  Exhibit A, p.004
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.31 Filed 11/04/22 Page 31 of 62




                                                                  Exhibit A, p.005
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.32 Filed 11/04/22 Page 32 of 62




                                                               ([KLELW%


                                                           Exhibit B, p.001
                                                                        001
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.33 Filed 11/04/22 Page 33 of 62




                                                            Exhibit B, p.002
                                                                         002
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.34 Filed 11/04/22 Page 34 of 62




                                                            Exhibit B, p.003
                                                                         003
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.35 Filed 11/04/22 Page 35 of 62




                                                            Exhibit B, p.004
                                                                         004
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.36 Filed 11/04/22 Page 36 of 62




                                                          Exhibit B, p.005
                                                                       005
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.37 Filed 11/04/22 Page 37 of 62




                                                            Exhibit B, p.006
                                                                         006
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.38 Filed 11/04/22 Page 38 of 62




                                                           Exhibit B, p.007
                                                                        007
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.39 Filed 11/04/22 Page 39 of 62




                                                           Exhibit B, p.008
                                                                        008
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.40 Filed 11/04/22 Page 40 of 62




                                                              Exhibit B, p.009
                                                                           009
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.41 Filed 11/04/22 Page 41 of 62




                                                              Exhibit B, p.010
                                                                           010
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.42 Filed 11/04/22 Page 42 of 62




                                                             Exhibit B, p.011
                                                                          011
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.43 Filed 11/04/22 Page 43 of 62




                                                               Exhibit B, p.012
                                                                            012
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.44 Filed 11/04/22 Page 44 of 62




                                                             Exhibit B, p.013
                                                                          013
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.45 Filed 11/04/22 Page 45 of 62




                                                               Exhibit B, p.014
                                                                            014
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.46 Filed 11/04/22 Page 46 of 62




                                                             Exhibit B, p.015
                                                                          015
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.47 Filed 11/04/22 Page 47 of 62




                                                           Exhibit B, p.016
                                                                        016
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.48 Filed 11/04/22 Page 48 of 62




                                                             Exhibit B, p.017
                                                                          017
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.49 Filed 11/04/22 Page 49 of 62




                                                              Exhibit B, p.018
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.50 Filed 11/04/22 Page 50 of 62


 From:              Rosie Guthrie
 To:                Dolan, Stephanie - WHD
 Subject:           Re: FW: US DOL Investigation
 Date:              Tuesday, May 10, 2022 1:03:06 PM



    CAUTION - The sender of this message is external to the DOL network. Please use care when clicking on links and
    responding with sensitive information. Send suspicious email to spam@dol.gov.

Hi Mrs. Dolan;
I have been advised that the information I gave you is enough. The caregivers did not agree for
me to give out their information.
I will not be corresponding with you anymore.
If you want to take it to court, I will see you there
Thank you.
Rosie

On Tue, May 10, 2022 at 9:16 AM Dolan, Stephanie - WHD <Dolan.Stephanie@dol.gov>
wrote:

   Ms. Guthrie,



   I am following up on our meeting from last Thursday, May 5th. During our meeting, you
   indicated I would be provided all workers’ timesheets and paystubs (items #5 and #6 on the
   attached letter) for, at a minimum, the most recently completed payroll by COB yesterday. I
   have not received any of these records to date. Please send by COB today. Please call me
   with any questions – (313) 702-2135. Thank you.



   Best Regards,



                            Stephanie Dolan, Investigator
                            U.S. Department of Labor

                            Wage and Hour Division

                            5700 Crooks Road, Room 310

                            Troy, MI 48098
                            313-702-2135 (Cell)

                            313-309-4514 (Office/fax)




                                                                                                         ([KLELW&


                                                                                                         Exhibit C, p.001
                                                                                                                      001
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.51 Filed 11/04/22 Page 51 of 62




  From: Dolan, Stephanie - WHD
  Sent: Wednesday, April 13, 2022 12:03 PM
  To: rmg@genesishomecareservices.com
  Subject: FW: US DOL Investigation



  Good Morning,



  I am following up on my voicemail to confirm that our meeting for this Friday has been
  cancelled. Furthermore, I have not yet received any correspondence from your attorney.
  Please request he or she call me at 313-702-2135 as soon as possible. Lastly, please review
  the attached letter and submit the records, as requested.



  Regards,



                      Stephanie Dolan, Investigator
                      U.S. Department of Labor

                      Wage and Hour Division

                      5700 Crooks Road, Room 310

                      Troy, MI 48098
                      313-702-2135 (Cell)

                      313-309-4514 (Office/fax)




  From: Dolan, Stephanie - WHD
  Sent: Monday, April 11, 2022 9:15 AM
  To: 'rmg@genesishomecareservices.com' <rmg@genesishomecareservices.com>
  Subject: FW: US DOL Investigation



  Rosemary,



                                                                                    Exhibit C, p.002
                                                                                                 002
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.52 Filed 11/04/22 Page 52 of 62




  I am following up on the attached letter and also on our conversation from 3/31/22. First and
  foremost, please let me know how you would like to be addressed moving forward. You had
  indicated over the phone that I did not use your name correctly, however it was not clear to
  me how you prefer to be addressed.



  Additionally, during our last conversation you indicated that your attorney would be
  contacting me prior to our meeting currently scheduled for this Friday. I have not yet
  received any correspondence from an attorney representing your firm. He or she can reach
  me at 313-309-4514 (office) or 313-702-2135 (cell).



  Lastly, we have not yet received any of the requested records on the attached letter or
  confirmation of our meeting scheduled for this Friday. The records were requested by COB
  4/8/22. We are requesting you to submit these records prior to our meeting in an effort to
  disrupt your business operations as a little as possible. If you need to reschedule our
  meeting, I can work with you on that. Please let me know when you are available to meet.
  Please submit the records requested in the attached letter no later than this Wednesday
  4/13/22 and call me (or request your attorney to call me) at 313-702-2135 (cell) to
  reschedule our meeting date if need be. Thank you.



  Regards,



                      Stephanie Dolan, Investigator
                      U.S. Department of Labor

                      Wage and Hour Division

                      5700 Crooks Road, Room 310

                      Troy, MI 48098
                      313-702-2135 (Cell)

                      313-309-4514 (Office/fax)




                                                                                    Exhibit C, p.003
                                                                                                 003
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.53 Filed 11/04/22 Page 53 of 62


  From: Dolan, Stephanie - WHD
  Sent: Thursday, March 31, 2022 3:56 PM
  To: rmg@genesishomecareservices.com
  Subject: US DOL Investigation



  Ms. Guthrie,



  Please see the attached letter.



  Additionally, please see the link below which provides more information on the
  characteristics of an employment relationship under the FLSA. I am including this link since
  you indicated during our conversation that your workers are all classified as 1099
  Independent Contractors.



  https://www.dol.gov/agencies/whd/fact-sheets/13-flsa-employment-relationship



  Please ensure the records requested on the letter are uploaded to the WHD Portal by COB
  next Friday. Thank you.



  Regards,



                       Stephanie Dolan, Investigator
                       U.S. Department of Labor

                       Wage and Hour Division

                       5700 Crooks Road, Room 310

                       Troy, MI 48098
                       313-702-2135 (Cell)

                       313-309-4514 (Office/fax)




                                                                                   Exhibit C, p.004
                                                                                                004
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.54 Filed 11/04/22 Page 54 of 62


                        UNITED STATES DEPARTMENT OF LABOR
                                 Wage and Hour Division
                                5700 Crooks Rd. Suite 310
                                    Troy, MI 48098
                                     (313) 309-4500


March 31, 2022

Genesis Homecare Services, LLC

23780 Harper Ave., Suite #B
Saint Clair Shores, MI 48080

7 Square Lake Rd
Bloomfield Hills, MI 48302

360 Briarwood Dr,
Jackson, MS, 39206

2723 South State St., Suite 150
Ann Arbor, MI 48108


Transmitted via email to: rmg@genesishomecareservices.com

RE: Wage and Hour Division Investigation

Dear Rosemary Guthrie,

The Wage and Hour Division (WHD) of the U.S. Department of Labor is responsible for
administering and enforcing a number of federal labor laws, including the Fair Labor Standards
Act (FLSA). This letter is to inform you that our agency has initiated an investigation to
determine your compliance with the FLSA. The enclosed links briefly describe the FLSA.

Authority for this investigation is contained in Section 11(a) of the FLSA. Section 11(a) states:

       The Administrator or his designated representatives may investigate and gather data
       regarding the wages, hours, and other conditions and practices of employment in any
       industry subject to this chapter, and may enter and inspect such places and such records
       (and make such transcriptions thereof), question such employees, and investigate such
       facts, conditions, practices or matters as he may deem necessary or appropriate to
       determine whether any person has violated any provision of this chapter or which may
       aid in the enforcement of the provisions of this chapter.

I have been assigned to visit your establishment on Friday, April 15 at 10:00 am at 23780
Harper Ave. Suite #B located in St. Clair Shores. The normal on-site procedure is to meet
with the owner or a representative of the firm, complete a tour of the establishment, and


                                                                                      ([KLELW'
                                                                                       Exhibit D, p.001
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.55 Filed 11/04/22 Page 55 of 62




interview a representative number of workers if they are present. A final conference will be held
separately to discuss the results of the investigation. In order to conduct the investigation with as
little disruption to your business operations as possible, please submit all documents providing
the following information one week prior to the scheduled visit, by Friday, April 8, COB:

   1. Legal name of the company, Federal Employer Identification Number (FEIN), and all
      other names used by the company (e.g., “Doing Business As” names).

   2. Names, addresses, email addresses, and telephone numbers of all business owners and
      company officers (e.g., President, Treasurer, Secretary, Board of Directors and other
      Corporate Officers) along with a company organizational chart if you have one.

   3. Records demonstrating your gross annual dollar volume of sales. These figures are
      typically reflected on annual tax documents. Please provide these records for the past
      three years.

   4. A list of all current and former workers employed during the period April 2020 –
      current along with their address, email address, telephone numbers, hourly rate or salary,
      job title, worksite, and whether you consider that worker exempt from overtime pay.

   5. Timekeeping records from April 2020 – current. Timekeeping records should reflect
      workers’ names, pay period, daily hours worked, and total weekly hours worked.

   6. Payroll records from April 2020– current. Payroll records should reflect at least the
      following information: names, pay period, hours worked, rates, gross wages, any
      deductions, and net wages. Typically, a payroll journal for each pay period will suffice.

   7. Birth dates for all workers under age 18 who worked during the past 24 months, if
      applicable.

   8. 1099 forms and contract documents for all independent contractors.

We request that you make all of the listed documents available by the requested date pursuant to
the authority contained in Section 11(a) and (c) of the FLSA and in Title 29, Code of Federal
Regulations, Part 516. Please submit all records electronically through the WHD Portal site.
Your access information is as follows:

                                    Portal Access Information
                                   Link: https://webapps.dol.gov/eup
                               Case ID: 1959448
                              Zip Code: 48080


Section 15(a)(3) of the FLSA prohibits you from retaliating against any person who files a
complaint with the Wage and Hour Division or who cooperates with a Wage and Hour Division
investigation. The law also prohibits you from retaliating against your workers for accepting



                                                                                         Exhibit D, p.002
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.56 Filed 11/04/22 Page 56 of 62




payment of any wages owed to them or from requiring your employee to return or decline
payment of any wages owed to them.

I will make every effort to conduct this investigation expeditiously and with a minimum of
inconvenience to you and your workers. However, please note that the list above is not intended
to be an exhaustive or final list of records to be examined.

If you have any questions, please call me directly at (313) 702-2135

Sincerely,



Stephanie Dolan
Wage & Hour Investigator

Enclosures:
Handy Reference Guide, FLSA
Fact Sheet #44: Visits to Employers
Fact Sheet #77A: Prohibiting Retaliation Under the FLSA




                                                                                    Exhibit D, p.003
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.57 Filed 11/04/22 Page 57 of 62




  U.S. DEPARTMENT OF LABOR
  Wage and Hour Division
  5700 Crooks, Room 310
  Troy, MI 48098

  April 27, 2022

  Genesis Homecare Services
  31235 Harper Ave., Suite 202
  St. Clair Shores, MI 48082

  23780 Harper Ave., Suite #B
  St. Clair Shores, MI 48080

  7 Square Lake Rd.
  Bloomfield Hills, MI 48302

  360 Briarwood Dr.
  Jackson, MS 39206

  2723 South State St., Suite 150
  Ann Arbor, MI 48108

  emailed 4/27/22 to: rmg5257@gmail.com & rmg@genesishomecareservices.com


  SUBJECT:         Wage and Hour Investigation

  Attention: Rosie Guthrie

  The Wage and Hour Division is responsible for administering and enforcing a number of
  federal laws involving labor standards. In this regard, Investigator Dolan has been assigned
  the task of conducting an investigation of Genesis Homecare Services LLC under the Fair
  Labor Standards Act of 1938 (FLSA), to determine its compliance with the law. In order for
  the Investigator to proceed, it is necessary that we examine certain records.

  As you were previously notified, the authority of the Department of Labor to conduct such
  investigations is contained in section 11(a) of the FLSA, 29 U.S.C. § 211(a), which provides
  that:

         The Administrator or his designated representatives may investigate and gather data
         regarding the wages, hours, and other conditions and practices of employment in
         any industry subject to this chapter, and may enter and inspect such places and such
         records (and make such transcriptions thereof), question such employees, and
         investigate such facts, conditions, practices, or matters as he may deem necessary or


                                                                                     &YIJCJU&
                                                                                     Exhibit E, p.001
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.58 Filed 11/04/22 Page 58 of 62




          appropriate to determine whether any person has violated any provision of this
          chapter or which may aid in the enforcement of the provisions of this chapter.

  This authority has been affirmed by the Supreme Court of the United States. See Oklahoma
  Press Publishing Company v. Walling, 327 U.S. 186 (1946); Donovan v. Lone Steer Inc., 464
  U.S. 408 (1984). The FLSA also provides for the issuance of subpoenas to support such
  investigations.

  Federal regulations require employers to keep certain records available for inspection and
  transcription by the Wage and Hour Administrator or a duly authorized and designated
  representative. See 29 C.F.R. Part 516. Records located off-site at a central recordkeeping
  office shall be made available within 72 hours, following notice from the Administrator or a
  duly authorized and designated representative. See 29 C.F.R. § 516.7. Section 516.2(a) and
  516.5(c) of the Code of Federal Regulations indicate the items that you are required to
  maintain and that may be inspected during the investigation. Failure to comply with these
  regulations is in itself a violation of the law.

  We initially requested these records in our FLSA appointment letter following a phone
  conversation on 03/31/22 where WHI Dolan informed you our agency had initiated an
  investigation of your firm under the FLSA. Following this conversation on 03/31/22, we
  emailed you (rmg@genesishomecareservices.com) the letter requesting the necessary records
  to be submitted by 04/08/22. In a telephonic conversation later that day, you informed WHI
  Dolan your attorney would reach out on the following Monday, 04/04/22, to address the
  matter. We never received contact from an attorney representing your firm and never received
  the requested records by the requested date of 04/08/22.

  On 04/11/22, we emailed you regarding our request for records and also informed you that we
  have not received any correspondence from an attorney. We re-sent the FLSA appointment
  letter requesting the records to be submitted by 04/13/22 and requested a call from you or your
  attorney. You did not respond to this request and we never received any of the requested
  records. No correspondence from an attorney was ever received.

  On 04/13/22, WHI Dolan left you a voicemail informing you that we have not yet received
  any correspondence from your attorney and we have not received any of the requested records.
  We also sent you a follow-up email that same day. You never responded to this email or
  voicemail and no records were provided. You have failed to provide any of the requested
  documents to date.

  On or before COB Monday 05/02/22 you must provide to Investigator Dolan all records
  listed below providing the following information:

     1.    Legal name of the company, Federal Employer Identification Number (FEIN), and
          all other names used by the company (e.g., “Doing Business As” names).

     2. Names, addresses, email addresses, and telephone numbers of all business owners
        and company officers (e.g., President, Treasurer, Secretary, Board of Directors and



                                                                                      Exhibit E, p.002
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.59 Filed 11/04/22 Page 59 of 62




         other Corporate Officers) along with a company organizational chart if you have
         one.

     3. Records demonstrating your gross annual dollar volume of sales. These figures are
        typically reflected on annual tax documents. Please provide these records for the
        past three years.

     4. A list of all current and former workers employed during the period April 2020 –
        current along with their address, email address, telephone numbers, hourly rate or
        salary, job title, worksite, and whether you consider that worker exempt from
        overtime pay.

     5. Timekeeping records from April 2020 – current. Timekeeping records should
        reflect workers’ names, pay period, daily hours worked, and total weekly hours
        worked.

     6. Payroll records from April 2020– current. Payroll records should reflect at least the
        following information: names, pay period, hours worked, rates, gross wages, any
        deductions, and net wages. Typically, a payroll journal for each pay period will
        suffice.

     7. Birth dates for all workers under age 18 who worked during the past 24 months, if
        applicable.

     8. 1099 forms and contract documents for all independent contractors.

  You are to submit all records electronically through the WHD Portal site. Your access
  information is as follows:

                                 Portal Access Information
                               Link: https://webapps.dol.gov/eup
                            Case ID: 1959448
                           Zip Code: 48080


  This is to be considered your final written notice to submit the requested information
  by COB 05/02/22. Your failure to respond to this notice and/or otherwise provide the
  records requested may result in additional action, including the issuance of a
  subpoena, to secure the information relevant to this investigation.

  You should also be aware that per section 15(a)(3) of the FLSA, you are prohibited from
  retaliating against any person who files a complaint with the Wage and Hour Division or
  who cooperates with a Wage and Hour Division investigation. You are also prohibited
  from retaliating against worker for accepting payment of the wages owed to them or from
  requiring workers to return or decline payment of the wages owed to them.




                                                                                   Exhibit E, p.003
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.60 Filed 11/04/22 Page 60 of 62




  Every effort will be made to conduct this investigation as expeditiously as possible and with
  a minimum of inconvenience to you and your workers. If you have any questions regarding
  the above please contact me at (313) 286-5215.

  Sincerely,



  Mohamed Beidoun
  Assistant District Director




                                                                                    Exhibit E, p.004
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.61 Filed 11/04/22 Page 61 of 62


 From:            Hoffmeister, Jonathan - SOL
 To:              rmg@genesishomecareservices.com
 Subject:         Genesis Homecare Services--Wage and Hour Subpoena Enforcement
 Date:            Tuesday, September 13, 2022 2:39:00 PM
 Attachments:     Genesis Homecare Services-Subpoena.pdf


Ms. Guthrie,

  I’m an attorney with the U.S. Department of Labor, and I will be representing the Department’s
Wage and Hour Division regarding a subpoena for documents that Wage and Hour served you on
June 15, 2022. My understanding is that you ignored Wage and Hour’s Subpoena after previously
providing only a small portion of the documents Wage and Hour requested from you. Requested
information that is still outstanding includes (but isn’t limited to) pay records, time records (including
a box of records you showed the Wage and Hour investigator but refused to let her copy), and the
name, address and phone number of Genesis Homecare Services’ workers. Wage and Hour needs
the information requested in its subpoena in order to determine whether Genesis Homecare
Services is in compliance with the Fair Labor Standards Act (FLSA).

 As I believe Wage and Hour already noted in a letter to you, Congress authorized it to “investigate
and gather data regarding the wages, hours, and other conditions and practices of employment in
any industry subject to this chapter, and may enter and inspect such places and such records (and
make such transcriptions thereof), question such employees, and investigate such facts, conditions,
practices, or matters as he may deem necessary or appropriate...” (FLSA Sec. 11(a)). The law also
provides that Wage and Hour may utilize a subpoena to obtain documents and question witnesses.
(FLSA Sec. 9).

 It is my understanding that you provided Wage and Hour with only five sample time/ payroll sheets,
and that you outright refused to provide worker information “because the caregivers did not agree
for [you] to give out their information.” Please understand that it is not sufficient for an employer to
pick and choose what records it wants to provide Wage and Hour during an investigation. (See FLSA
Section 11). Nor can an employer simply declare that its workers are independent contractors and
then refuse to provide information the employer has about the witnesses who could corroborate or
refute the claim. (See e.g. FLSA Sec. 9 and 11).

The purpose of this email is to see if you will voluntarily comply with the subpoena and submit the
remaining documents Wage and Hour requested without me having to initiate a court action against
Genesis Homecare Services in U.S. District Court. If you are willing to provide these documents to
avoid the time and expense of litigation, please let me know, and then provide the documents within
10 days of this email. If you are not willing—I plan to file an action in U.S. District Court shortly
hereafter.

Thank you for your consideration of this request to resolve this matter short of litigation. And if you
are represented by an attorney, please forward this email to them and ask them to provide me their
contact information.

Sincerely,
                                                                                            ǆŚŝďŝƚ&
                                                                                              Exhibit F, p.001
Case 2:22-mc-51667-MFL-APP ECF No. 1, PageID.62 Filed 11/04/22 Page 62 of 62



Jonathan Hoffmeister
U.S. Department of Labor
(404) 302-5453 (direct office number)
hoffmeister.jonathan@dol.gov

Until further notice, in light of the current restrictions put in place by federal, state, and local
governments in response to COVID-19, please direct all correspondence to to me via phone or email.
Please do not send correspondence by paper mail, courier, or fax. If your correspondence is too large
for email, or you have limited access to email, please contact me to discuss an alternate means of
delivery.

This message may contain information that is privileged or otherwise exempt from disclosure under applicable law. Do not discose
without consulting with the Office of the Solicitor. If you think that you received this message in error, notify me immediately.




                                                                                                                        Exhibit F, p.002
